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                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF MISSOURI
                               SOUTHEASTERN DIVISION

THE STATE OF MISSOURI,                              )
ex rel. ERIC S. SCHMITT, in his official            )
capacity as Missouri Attorney General,              )
                                                    )
       Plaintiff,                                   )
                                                    )
v.                                                  )       Case No. 1:20-cv-00099-SNLJ
                                                    )
THE PEOPLE’S REPUBLIC OF CHINA,                     )
THE COMMUNIST PARTY OF CHINA,                       )
NATIONAL HEALTH COMMISSION                          )
OF THE PEOPLE’S REPUBLIC OF                         )
CHINA, MINISTRY OF EMERGENCY                        )
MANAGEMENT OF THE PEOPLE’S                          )
REPUBLIC OF CHINA, MINISTRY OF                      )
CIVIL AFFAIRS OF THE PEOPLE’S                       )
REPUBLIC OF CHINA, PEOPLE’S                         )
GOVERNMENT OF HUBEI                                 )
PROVINCE, PEOPLE’S GOVERNMENT                       )
OF WUHAN CITY, WUHAN INSTITUTE                      )
OF VIROLOGY, and CHINESE                            )
ACADEMY OF SCIENCES,                                )
                                                    )
       Defendants.                                  )


                                    NOTICE OF APPEAL

       Notice is hereby given that the State of Missouri ex rel. Eric S. Schmitt, in his official

capacity as Attorney General of Missouri, Plaintiff in the above-captioned case, hereby appeals to

the United States Court of Appeals for the Eighth Circuit from the district court’s July 8, 2022,

Memorandum and Order, Doc. 61, and Order of Dismissal, Doc. 62, dismissing the action with

prejudice.




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Dated: July 8, 2022                          Respectfully submitted,

                                             ERIC S. SCHMITT
                                             ATTORNEY GENERAL

                                             /s/ D. John Sauer
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                                CERTIFICATE OF SERVICE

       On July 8, 2022, I caused the foregoing to be filed through the Court’s electronic filing

system to be served by electronic notice on all counsel who have appeared in this case.

                                             /s/ D. John Sauer




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